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                                                                   FILED
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                                                             SAVAHNAH DtV.

             IN THE UNITED STATES DISTRICT COURT                 APR 12 AM!1*22
                  THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION              CLEf



UNITED STATES OF AMERICA,


V.                                            Case No.    CR417-105


EDGAR JOHNSON,
                 Defendant.




UNITED STATES OF AMERICA,


V.                                            Case No.    CR417-214


EDGAR JOHNSON,
                  Defendant.




UNITED STATES OF AMERICA,


                                               Case No.   CR417-262


RAYNARD WILLIAMS,
                  Defendant.




UNITED STATES OF AMERICA,


V.                                             Case No.   CR418-83


SHAHEE GORDON,
                  Defendant.




                                 ORDER



      Courtney R. Lerch, counsel of record for defendants in the
   Case 4:17-cr-00262-WTM-CLR Document 145 Filed 04/12/18 Page 2 of 2




above-styled cases, has moved for leave of absence.        The Court is

mindful that personal and professional obligations require the

absence   of   counsel on occasion. The Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and       trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     SO ORDERED this /A       day of April 2018.




                                 HONORABLE WILLIAM ts/. MOORE, JR,
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
